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Marshall Lancey- Assistant Director
of Student Conduct

August 21, 2017

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Welcome to the Office of Student Conduct! |

Betsy Gray- Director of Student Conduct and Programs
Marshall Lancey- Assistant Director
Joyce Motta- Administrative Assistant

Our office is located on the 2" floor of the Friedman
Center

 

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“Conduct Philosophy

The Office of Student Conduct engages students in
meaningful educational opportunities that promote ethical
behavior and citizenship.

— As a hearing officer, you are now officially
(unofficially?) a member of the Student Conduct team!

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Foundational Principles

All our conversations with students are grounded in
3 primary principles that state we will:

— provide a consistent message regarding the Code of Conduct
and the Conduct Review Process to the JWU Community

— create opportunities for students to reflect upon their
character and how it impacts decision making , their
community, and their opportunity to be successful.

— Provide opportunities through creative initiatives that challenge
students to be responsible citizens

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Jurisdiction

¢ All on-campus conduct

¢ Off-campus conduct which relates to:
~ The good name of the JWU system
— The integrity of the educational process

— The safety and welfare of the JWU system community, either in
its public personality or in respect to individuals within it

There is no statute of limitations on conduct cases.

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Conduct y. Criminal and Civil Proceedings

Student Conduct is a wholly separate system from
criminal and civil proceedings

* Students can be charged with a crime and a violation of
the Student Code of Conduct at the same time

¢ Sanctions will not change based on the outcome of a
criminal or civil process

* A preponderance (majority) of the evidence (50.01%) is
the standard of evidence throughout student conduct
proceedings.

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The Code of Conduct —

Harming of Endangering

Bias and Harassment

Sexual Misconduct

Drugs

Alcohol

Theft and Abuse of Property
Failure to Comply and Interference
Dishonesty

Other Prohibited Conduct

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Your Most Common Charges

° Alcohol

¢ Marijuana

* Behavior that would offend or frighten

¢ Failure to comply with the Guide to On Campus Living
¢ Endangering or threatening health or safety

 

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Questions about the Student
Code of Conduct?

 

 

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Student Conduct Process

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- Conduct Review Process

¢ Reporting of an Incident

Initial Review
Student Conduct Case

Appeal

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“Steps Leading to a Panel Hearing

Panel Hearings only take place when a responsible finding
could result in suspension or dismissal

Pre-Hearing meeting:

* Student reads all evidence that will be presented to panelists

¢ Student learns the panel hearing procedures

¢ Explain nature of the charges

* Gives the student the opportunity to “Acknowledge Responsibility”

Panel Hearing scheduling:

* Based on students academic schedule

* Joyce will e-mail a call for panelists

* Joyce will confirm panelists selected for the hearing (3 active, | reserve)
* The student is notified of the date and time

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Panelist Expectations

* Punctuality- please arrive at least 20 minutes prior to the
hearing start time to review all materials

¢ Confidentiality

¢ Be familiar with JWU Policy and hearing procedures as
outlines in the Code of Conduct

* Treat one another and students with respect
¢ Neutral, unbiased, open attitude

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Language
Legal Educational
* Suspect * Respondent
° Victim * Complainant
¢ Crime ° Incident
° Write-Up ° Incident Report
* Trial/Court * Hearing
° Jury/Judges * Panelists
* Guilty * Responsible
° Not Guilty ¢ Not Responsible
° Testify * Provide Information
¢ Advocate ¢ Advisor
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Hearing Overview

* The Hearing Officers facilitate the process and will guide panelists
and students through each step.

*Only relevant information regarding the incident can be presented

during the hearing.*

* Who to expect:
— Respondent
— Complainant (Title IX cases only)
— Witnesses with relevant information

~ Advisor
°* for both Respondent and Complainant (Title IX)
* Any person of their choosing
* “potted plant”, may not participate in any manner

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Information Gathering Tips

Remember: the goal is to determine whether it is more
likely than not that the behavior occurred. All questions

° When you are first reading the report you should:

should be centered around that goal.

Review assigned charges in the Student Code of Conduct
Note anything that is unclear

Make notes about questions you need answered (from respondent or
witnesses) on the provided notes sheet

° Gather information that helps determine if that violation
occurred

Highlight pieces of information that you think are particularly
important in relation to the charges

Ask Hearing Officer for clarification

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During the hearing

¢ Maintain neutral composure and expressions
¢ Actively listen and make notes on key points
* Refer back to notes from your review of the report

* Note discrepancies from student statements vs. UIR and
other documents

* Constantly ask yourself: what information do | need to
determine if the behavior occurred?

* Ask relevant questions to reach a determination — do not
assume it happened exactly the way you read it.

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Skills and Knowledge to Consider |

¢ Neutrality

* Active Listening

* Open-ended Questions

* Body Language

* Set Up/Announcing Notetaking
° Professionalism

¢ Timing/Progress

* Mindfulness of sensitive issues

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Active Listening Activity

The bug is round.

The bug has eight legs, grouped in pairs, with four legs on the left and
four legs on the right. In the pairs, one leg is longer than the other.

The bug has two eyes on top of the body.

The bug has two squiggly antennas.

The bug has two pea-pod shaped wings.

The bug has a spot next to each wing.

The bug has a triangular stinger on the bottom of its body.

The bug has two feelers on each foot — one longer than the other,
both coming from the same side of the leg.

The bug has a round mouth, placed between the two eyes.
The bug laid five square eggs to the left of the stinger.

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After the hearing

* The panel is given time to deliberate

¢ The panel should come to a unanimous decision for each
individual charge

* The Hearing Officer will not participate in the
formulation of a decision but can answer questions about
the process or Student Code of Conduct

* The panel will recommend appropriate sanctions for the
Hearing Officer to consider

Rationale Worksheet (VAWA related offenses only)

 

 

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The Decision

¢ Must be made based on RELEVANT information provided
during the panel hearing (report, statements, witnesses,
questions/answers)

* Can NOT be made based on knowledge of a prior
violation, your personal opinion about the student, or
your own personal values/beliefs

¢ Can NOT speculate on what other information would
have yielded

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Rationales

VAWA: A written rationale must be provided to both
complainant and respondent in cases of Dating Violence,
Domestic Violence, Sexual Assault and Stalking.

* Panelists will complete the worksheet in their own words

* Will be used to write rationale sent to complainant and
respondent

* Must consider and discuss each section (element) of the
worksheet and fill out

¢ Panelists may NOT ask the Hearing Officer for
guidance/advice about the decision. Procedural Q’s only.

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_ Approach to Sanctions

In all cases, through sanctioning, the office hopes to:

~ Help students understand how their behavior impacts the
community and why it needs to change

~ Ensure the security of the JWU community

— Apply only as much pressure as necessary to elicit behavioral
change

 

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FERPA

¢ The Family Educational Rights and Privacy Act (FERPA)
(20 U.S.C. § 1232g; 34 CFR Part 99) is a Federal law
that protects the privacy of student education records.
The law applies to all schools that receive funds under an
applicable program of the U.S. Department of Education.

Other than a letter to a parent/guardian as a sanction, you
should check with Student Conduct before communicating
with a parent/guardian about their student’s conduct
record/situation.

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Questions about the Student
Conduct Hearing Process?

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